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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED FOOD AND COMMERCIAL                   )
WORKERS LOCAL 655, a labor                   )
organization,                                )
                                             )       Case No. 4:14-cv-01394-JAR
        Plaintiff,                           )
                                             )
v.                                           )
                                             )
ST. LOUIS FOOD HUB, TIF, INC.,               )
An administratively dissolved Missouri       )
corporation, and                             )
                                             )
F2F, LLC, a Missouri Limited Liability       )
Company, d/b/a St. Louis Food HUB and        )
d/b/a Fields Foods, and                      )
                                             )
ST. LOUIS FOOD HUB, LLC, a Missouri          )
Limited Liability Company,                   )
                                             )
        Defendants.                          )

                JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        COME NOW Plaintiff United Food and Commercial Workers Local 655 and Defendants

St. Louis Food Hub, Tif, Inc., F2F, LLC, and St. Louis Food Hub, LLC (collectively, the

"Parties"), by and through their attorneys of record, and stipulate and agree that the above styled

action and all claims and counterclaims asserted therein shall be dismissed with prejudice. The

Parties also stipulate and agree that the Card Check and Neutrality Agreement (Exhibit 7 to

Plaintiffs Complaint, the "Agreement") is null and void, and that neither party has any rights or

 responsibilities under the Agreement. Each party will bear their own attorneys' fees and costs.
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Respectfully submitted this 3rd day of February, 2015 by:

HAMMOND AND SHINNERS, P.C.                         HUSCH BLACKWELL LLP

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                                                        Counsel for Defendants St. Louis Food
                                                        Hub, TIF, Inc., F2F, LLC, and St. Louis
                                                        Food Hub, LLC
